1:23-cv-01184-CRL-JEH # 318-15   Filed: 04/22/24   Page 1 of 2




            Exhibit 1
Page               i
   OF FENS.E C LASSI i:1cA TION
                                   ot           /                  Pages                                ~u~~';ffl~OJtrro'N"i[f/1-' -1 PEORIA POLICE DEPARTMENT
                                                                                                         1:23-cv-01184-CRL-JEH # 318-15 Filed: 04/22/24 Page 2 of 2
                                                                                                                      1NC. CODE                         DATE OF THIS REPOFH                                            CLASSIFICATION            INCIDENT COD!: CHANG~
                                                                                                                                                                                                                                                                                                                             77-05l[l8
                                                                                                                       0112                                     J:,/22/77                                               CHANGE NEEDED
                                                                                                                                                                                                                                                FROM                      TD

                                                                                   NAME ANO/Of! ALIAS                                                                         ADDRESS (NO., CITY, STATE, ZIP]                                                                                  REDACTED              S,S,, D.L. NO,. clC.                         EF.


                                                                                    DOUGLAS, "1-JILLIAM E.                                                                        3033 W. GARDEN                                                                 RES6
                                                                                                                                                                                                                                                                 BUS.
                                                                                                                                                                                                                                                                        -,7-151- 9
                                                                                                                                                                                                                                                                        ;J                                                   UNI".

                                                                                    SCHWARK, SUSAN K.                                                                             3034 W. GARDEN                                                                    637-9756                                                 UNK


 S[C. A:     A-A•1E"~ted         B-Bu~rnesi;, Firm, Ago!;-r1cy   C-CornploilmBnt    BFI-B.anender   M-Mi~sing. RunaW~\I       P-F\'ir!!fl\, Gvard,o:m    S-Su~pc,::I   V-V1ctim   W-Witrn;;M   0-0ther (Nar,i

SE.C. 8:      l<-De-c,d Belc:.iro, Report     0-No h1d1cat1on of Injury      A-Blel!"d.mg, Carried from Sci,-nt   B-Vi~ible- ln~urv   C-No Vi;ibJe lnjwy, Moment.rify Uncoriscious. Compl:iiri of Pim,




                                                                                                                                                                                                   SEC. E:            POL-On Du1Y Pohc~   00-0ff Duty Po!1c:ll

                                               HArn ([)ESC)                                                                                                                                                                                                                    10ENTIFIA8l'E Pl-i'r'SICAL CHARACTERIS'llCS                                       OLIS




  N/A
LAB                                                                                                       :PHOTO                                                 •PATROL SGT.                                   :CORONER
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                                                                                                          '                                                      I
                                                                                                                                                                 '                                              '''
      CONTINUATION                                                        NARRATIVE:
         SHEET ONLY                                        □                        1130 HRS.                       TI-ITS orFICER REINTERVIEWED HRS. SCHWARK .AND THE OTHER THR1E MEMBERS OF Trill FAMILY,
      ·.. u .t.'ll.i'i ll                                                                                         • uv '                                                   l b ;u                               ,                 ..........u ... .nl",                                                                                                   Ul+'
      THE BOY:> SAID TH!iT TifilY HAD OBSERVED A B/M COME OUT THE FRONT DOOR OF 3033 W. GARDEN, THIS WAS AT 0840 HRS. 1/18/77
      T~lEY SAID THAT THE B M WALKED OUT TOWARDS G RDEN AN 'J.'HEN TURNED AND STARTED WALl<J.NG TOWARDS LARMIE. THE ONLY DESCRIPIT©ON
      THEY GOULD GIVE OF THE B/M WAS THAT illi W:AS ABOU'l' 5 1 10 AND THAT HE HAD OH A BROWN COAT OF SOME HIND. THEY STATED Td.AT AT
            :::i                                                                                              ~          · .LJ                                                     u.n.L=•,:..i.·,                                             .. ...,~..,••••                                                                        S
      AT AROUND 2330 to 2345 HRS. THEY BEARD WHAT SOUNDEJJ LIKE FIGHTING C01-1ING FROM THE FRONT YARD ,OF 3033 W. GARDEN. THEY SAID
                       1' !ill                       \•J                                                1' lJ                                                          f                       U                                            A;, lJ
      FRIENDS l,[[TH Tf:lE VICTIM JAl..IBS ROBISON. THEY SAID THAT ROBISON HAD 10 LD THEM THAT MOTHER NOYAL IOUGLAS AND HIS STEP.,...
                                            1 \                                                                          JJ T11AT ROBISON
      TOLD THEM THAT HE nAD BEEN A'l'TACKED BY A DOG AND THAT HE HAD KILLED THE IOG WITH ms BUCK KNIFE: ROBISON SAID THA'.I' HIS
       STEP FA'l'HER LEARNED OF '1'. S AND TOU ( THE B G           1•A                                                     MEERS OF
      THE FAMILY STATED THAT THEY DIDN 1 T PAY ANY ATTENTICN TO THE VICTIM! S RESIDENCE ON MONDAY NIGHT, TI{[S BEING 1/11-f.7.

       THE ABOVE IS REFERNCE TO REPORT NUMBER 196                                                                                                                            R. NELSON # 707



       1245 HRS. TillS OFFICER REINTERVIEWED MR. AND HRS. scmrr11rri. I WEN'l' OVER THE EVENT3 OF 'IUESDAY AND 'l'HERE WA3 NOT"rlING NEW'
      THAT THEY COU D ADD.      ~o AS , D TtlEH F' TI-IBY CUULD REMBEH \fY T NG ABOUT MONDAY N GHT       1  • BOTH PAR'l'IES SAID THAT
      THEY illllPT PAY AUY ATTENTION TO THE _RESIDENCE A'l' 3033 W. GARDE."'I.
       CAN OFF ENOEA                  i    BY WHOM                                   REPORTING OFFICE~ (PRINT, T't'PEj                                                      REPOFlTING OFFICER !PfllNT, TVPEj                                       DIVISION                                                                                                 4,D. NO_

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